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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

    In re:                                       Chapter 15

    PERFORADORA ORO NEGRO, S. DE R.L. DE         Case No. 18-11094 (SCC)
    C.V., et al.                                 (Jointly Administered)

    Debtors in a Foreign Proceeding.
    GONZALO GIL-WHITE, PERSONALLY AND            Adv. Pro. No. 19-1294(SCC)
    IN HIS CAPACITY AS FOREIGN
    REPRESENTATIVE of PERFORADORA ORO
    NEGRO, S. DE R.L. DE C.V. AND
    INTEGRADORA DE SERVICIOS
    PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                               Plaintiff,

                        -against-

    ALP ERCIL; ALTERNA CAPITAL PARTNERS,
    LLC; AMA CAPITAL PARTNERS, LLC;
    ANDRES CONSTANTIN ANTONIUS-
    GONZÁLEZ; ASIA RESEARCH AND CAPITAL
    MANAGEMENT LTD.; CQS (UK) LLP;
    FINTECH ADVISORY, INC.; DEUTSCHE
    BANK MEXICO, S.A., INSTITUCIÓN DE
    BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
    BARRADAS ABOGADOS, S.C.; GHL
    INVESTMENTS (EUROPE) LTD.; JOHN
    FREDRIKSEN; KRISTAN BODDEN;
    MARITIME FINANCE COMPANY LTD.; NOEL
    BLAIR HUNTER COCHRANE, JR; ORO
    NEGRO PRIMUS PTE., LTD.; ORO NEGRO
    LAURUS PTE., LTD.; ORO NEGRO FORTIUS
    PTE., LTD.; ORO NEGRO DECUS PTE., LTD.;
    ORO NEGRO IMPETUS PTE., LTD.; PAUL
    MATISON LEAND, JR.; ROGER ALAN
    BARTLETT; ROGER ARNOLD HANCOCK;
    SEADRILL LIMITED; SHIP FINANCE
    INTERNATIONAL LTD.; and DOES 1-100

                               Defendants.
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                               CERTIFCATE OF SERVICE




                 I, William A. Clareman, hereby affirm, under penalty of perjury, that copies

   of the foregoing (1) Ad Hoc Defendants’ Notice of Motion to Dismiss the Complaint, (2)

   Declaration of William Clareman and accompanying Exhibits; (3) Declaration of Rodrigo

   Zamora and accompanying Exhibits; and (4) the Foreign Defendants’ Motion to Dismiss

   the Complaint for Lack of Personal Jurisdiction have been duly served this 26th day of

   August 2019 and were transmitted via the court’s CM-ECF system upon the following:


                 Juan P. Morillo
                 Quinn Emanuel Urquhart & Sullivan LLP
                 1300 I Street NW
                 Suite 900
                 Washington, D.C. 20005



                 Counsel for the Plaintiffs




      Dated:   New York, New York
               August 26, 2019                                  /s/ William A. Clareman
                                                                William A. Clareman, Esq.
